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haynesboone

February 4, 2020 Direct Phone Number: (512) 867-8412
Direct Fax Number: (512) 867-8609
wesley.lewis@haynesboone.com

Certified Article Number
VIA CMRRR 9414726699042041895695

FYU4 Pebb FWAO4 2041 8956 45

& VIA EMAIL
Orone Laizerovich SENDERS RECORD

5604 Plumtree Drive
Dallas, TX 75252-4929

VIA CMRRR 9414726699042041895701 “ ;
& VIA EMAIL Certified Article Number

 

 

ILI Solutions, LLC 9u14 ?2bb F904 2041 8957 Oh
4409 Longfellow Drive SENDERS RECORD
Plano, TX 75093

Re: — Folkenflik, et al. v. Laizerovich, et al.; Cause No. 3:20-mc-00009-E-BH pending in the
United States District Court, Norther District of Texas, Dallas Division

Dear Mr. Laizerovich:

Please find enclosed a copy of an Order (Dkt. 4) entered on February 3, 2020 in the above-
referenced matter, which is being served on you and ILI Solutions, LLC pursuant to that Order in
accordance with Federal Rule of Civil Procedure 5(b)(2)(C).

Sincerely,

AL DZ

Wesley D. Lewis

WDL/clm

Enclosure

Haynes and Boone, LLP

Attorneys and Counselors

600 Congress Ave., Suite 1300

. Austin, Texas 78701-3285

EXHIBIT A Phone: 512.867.8400
Fax: 512.867.8470

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

DAVID FOLKENFLIK; NATIONAL

PUBLIC RADIO, INC.; EDITH CHAPIN; §
LESLIE COOK; and PALLAVIGOGOI, = §
Movants, §
§
v. § Miscellaneous Action No. 3:20-MC-009-E
§
ORONE LAIZEROVICH; ILI §
SOLUTIONS, LLC, §
Respondents. § Referred to U.S. Magistrate Judge
ORDER

By Order of Reference filed February 3, 2020, before the Court for determination is the Motion
to Compel Orone Laizerovich and ILI Solutions, LLC to Comply with Subpoena, filed January 24,
2020 (doc. 1).

The respondent may file a response and brief containing citations to relevant authorities' to
the request to transfer no later than noon on Friday, February 14, 2020. The movant may not file
a reply.

An oral argument has been scheduled for Wednesday, February 19, 2020, at 10:00 a.m. in
courtroom 1566. Unless otherwise ordered, the motion will be determined based on the relevant
filings. No evidence will be received at the oral argument.

The movant shall serve the respondent with a copy of this order and shall file a certificate of
service attesting to service no later than 5:00 p.m. on February 6, 2020.

All parties must confirm their attendance at least two days prior to the hearing by

contacting Courtroom Deputy Marie Castafieda at (214) 753-2167, Failure to confirm or to attend

 

*Local Rule 7.1 of the Local Civil Rules for the Northern District of Texas requires the filing of briefs in support of
most motions. Pursuant to subsection (d), briefs shall contain a “party’s contentions of fact and/or law, and arguments and
authorities.” (emphasis added). Briefs containing authorities greatly assist the Court in making rulings more expeditiously.
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the hearing without obtaining permission of the Court will result in appropriate sanctions.

SO ORDERED on this 3rd day of February, 2020.

    
 

MA CARRILLO RAMI
UNITED STATES MAGISTRATE J
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From: Lewis, Wesley

To: orone@ilisols.com

Cc: Prather, Laura

Subject: Court Order in Motion to Compel Orone Laizerovich and ILI
Date: Thursday, February 6, 2020 11:12:15 AM

Attachments: image001.png

 

Mr. Laizerovich:

Pursuant to this Court’s February 3, 2020 Order, we have served a copy of that Order on you in
accordance with Federal Rule of Civil Procedure 5 via certified mail. That Order is also attached as a
courtesy. Please reach out to Laura Prather or me with any questions.

Best,
Wesley

haynesboone

Wesley Lewis
Associate

wesley.lewis@haynesboone.com

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